                    IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

                      CIVIL ACTION NO.: 1:21-cv-00105-NCT-JEP

 DAVID TRINH                               )
                                           )
                Plaintiff/Counter-         )
 Defendant,                                )
                                           )
 vs.                                       )
                                                                  ORDER
                                           )
 INTERNATIONAL BUSINESS                    )
 MACHINES CORPORATION,                     )
                                           )
                Defendant/Counter-         )
 Plaintiff.                                )

        This matter is before the Court on the motion of Ansley K. Fantaski of Jackson Lewis

P.C. for permission to withdraw as counsel of record for Defendant/Counter-Plaintiff

International Business Machines Corporation (“IBM”). Having considered the motion and for

good cause shown, the motion is GRANTED.

        IT IS THEREFORE ORDERED, that Ansley K. Fantaski shall be allowed to

withdraw as counsel of record for Defendant/Counter-Plaintiff IBM.


        This the ____ day of July 2022.



                                           _____________________________
                                           United States District Court
                                           4883-0793-7066, v. 1




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